    Case 18-30034-MBK         Doc 32    Filed 03/18/19 Entered 03/18/19 15:19:02                 Desc Main
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      UNITED STATES BANKRUPTCY COURT
      DISTRICT OF NEW JERSEY
      Caption in Compliance with D.N.J. LBR 9004-
      2(c)
                                                                                Order Filed on March 18, 2019
                                                                                           by Clerk
      Stern Lavinthal & Frankenberg LLC                                            U.S. Bankruptcy Court
                                                                                   District of New Jersey
      105 Eisenhower Parkway - Suite 302
      Roseland, NJ 07068
      Telephone Number (973) 797-1100
      Facsimile Number (973) 228-2679
      Attorneys for Secured Creditor,
      Seterus, Inc., as authorized sub-servicer for
      Federal National Mortgage Association (“Fannie
      Mae”), a corporation organized and existing under
      the laws of the United States of America
      By: Djibril Carr, Esq.
      In Re:                                                Case No.18-30034-MBK
                                                            Chapter: 13
             Lisa Ann Pugliese                              Hearing Date: February 26, 2019
                                                            Judge: Michael B. Kaplan U.S.B.J.

                    Debtor(s)



                                 ORDER VACATING AUTOMATIC STAY

            The relief set forth on the following pages, numbered two (2), is hereby ORDERED.




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(Page 2)
Debtor: Lisa Ann Pugliese
Case No.:18-30034-MBK
Caption of Order: Order Vacating Automatic Stay



         Upon the Motion of Seterus, Inc., as authorized sub-servicer for Federal National

Mortgage Association (“Fannie Mae”), a corporation organized and existing under the laws of

the United States of America, on behalf of itself and its successors and/or assigns (hereinafter

collectively "Secured Creditor" and/or Movant), under Bankruptcy Code Section 362(d) for

relief from the automatic stay as to certain real property as hereinafter set forth, and for cause

shown,


         ORDERED as follows:

1.       The automatic stay of Bankruptcy Code Section 362(a) is vacated to permit the movant

its successors and/or assigns to institute or resume and prosecute to conclusion one or more

action(s) in the court(s) of appropriate jurisdiction to foreclose mortgage(s) held by the movant

upon the following:

         -      Land and premises commonly known as 467 Brook Rd, Red Bank, NJ 07701

2.       The movant may join the debtor and any trustee appointed in this case as defendants in its

foreclosure action(s) irrespective of any conversion to any other chapter of the Bankruptcy Code.

         The movant shall serve this Order on the debtor, any trustee and other party who entered

an appearance on the motion.
